
PER CURIAM.
This case is before the Court on a Rule Nisi dated September 17, 1973 issued to the Honorable Robert P. Miller, Public Defender of Daytona Beach, Florida, directing him to show cause why he should not be held in contempt of this Court for his failure to prosecute this appeal in accordance with his professional responsibilities as attorney for the appellant in accordance with Florida Appellate Rules. The said Robert P. Miller has this date appeared before the Court and given an explanation as to why this appeal has not been properly prosecuted as required by law which explanation we find to be insufficient and without merit.
It is therefore the judgment of this Court that the said Robert P. Miller be and he is hereby adjudged to be in contempt of this Court for his failure in the premises and he is hereby publicly reprimanded for his failure to discharge the duties and requirements of his employment as attorney for appellant. The said Robert P. Miller is hereby directed to prosecute this appeal to a conclusion on the merits without any further delay pursuant to the Florida Appellate Rules.
RAWLS, C. J., and SPECTOR, WIG-GINTON and JOHNSON, JJ., concur. (Sitting en banc).
